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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 11
    In re:
    ATHENEX, INC., et al.,                                              Case No. 23-90295 (DRJ)

                                      Debtors. 1                        (Jointly Administered)

                                                                        [Related to Docket No. 113]

        NOTICE OF EXTENDED BID DEADLINE IN CONNECTION WITH ORDER
     APPROVING (A) BID PROCEDURES; (B) THE FORM AND MANNER OF NOTICE;
    (C) THE PROCEDURES FOR DETERMINING CURE AMOUNTS FOR EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES; AND (D) GRANTING RELATED RELIEF

PLEASE TAKE NOTICE THAT:

          1.       On May 14, 2023 (the “Petition Date”), Athenex, Inc. and its debtor-affiliates (the

“Debtors” or the “Company”) each commenced a bankruptcy case in the United States Bankruptcy

Court for the Southern District of Texas, Houston Division, by filing voluntary petitions under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

          2.       On May 14, 2023, the Debtors filed their Motion for (I) Entry of an Order

Approving (A) Bid Procedures; (B) the Form and Manner of Notice; (C) the Procedures for

Determining Cure Amounts for Executory Contracts and Unexpired Leases; and (II) (A) Entry of

an Order Approving (A) the Sale of Substantially All of the Debtors’ Assets Free and Clear of All

Liens, Claims, Encumbrances and Interests; and (B) the Assumption and Assignment of Certain

Contracts and Unexpired Leases [Dkt. No. 17] (the “Bid Procedures and Sale Motion”).2



1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal place of
      business and the Debtors’ service address in these Chapter 11 Cases is 1001 Main Street, Suite 600, Buffalo, NY
      14203.
2
      All capitalized terms not herein defined shall have the meanings ascribed to them in the Bid Procedures and
      Sale Motion. The Assets to be sold or otherwise transferred are any and all of the assets, rights, and properties


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         3.       The Debtors are soliciting offers for the Assets, and the Court has entered the Order

Approving (a) Bid Procedures; (b) the Form and Manner of Notice; (c) the Procedures for

Determining Cure Amounts for Executory Contracts and Unexpired Leases; and (d) Granting

Related Relief [Dkt. No. 113] (the “Bid Procedures Order”) approving auction and sale procedures

(the “Bid Procedures”) for the Assets.3

         4.       Pursuant to the Bid Procedures and Bid Procedures Order, and in consultation with

the Consultation Parties to the extent required, the Debtors are extending the following sale

timelines only:

                                                                                             Revised
                  Event                            Original Deadline
                                                                                            Deadline
    Bids Due                                June 12, 2023 at 5:00 pm               June 15, 2023 at 5:00 pm
    Auction                                 June 15, 2023 at 10:00 am              June 19, 2023 at 10:00 am
    Notice of Winning Bids Filed            June 16, 2023                          June 20, 2023 at 12:00 pm
    Objection to Winning Bidder             June 19, 2023 at 12:00 pm              June 21, 2023 at 2:00 pm


         5.       The Debtors reserve the right to further extend the sale timelines pursuant to the

Bid Procedures Order in consultation with the Consultation Parties.

                              [Remainder of the page intentionally left blank]




     pertaining to or used in connection with the operation of the Debtors’ business, but excluding any assets of Debtor
     Athenex Pharma Solutions, LLC.
3
     Copies of the Bid Procedures and Sale Motion, the Bid Procedures Order, the Bid Procedures, and the Stalking
     Horse Agreement, if any, may be obtained free of charge at the website dedicated to the Debtors’ Chapter 11
     Cases maintained by their claims and noticing agent and administrative advisor, Epiq Restructuring, LLC, located
     at https://dm.epiq11.com/athenex.


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 Dated: June 7, 2023                              PACHULSKI STANG ZIEHL & JONES LLP

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                                                  Proposed Counsel to the Debtors and Debtors in
                                                  Possession




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of June, 2023, a true and correct copy of the above and
foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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